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                       UNITED STATES DISTRICT COURT
                                  FOR THE
                            DISTRICT OF VERMONT


United States of America,      :
           Plaintiff           :
                               :
      v.                       :        File No. 1:03-cr-00035-jgm-1
                               :
Andrew F. Capoccia,            :
           Defendant.          :
                               :
_______________________________:

         DECISION AND ORDER ON DEFENDANT’S MOTIONS TO DISMISS
            VARIOUS COUNTS OF SECOND SUPERSEDING INDICTMENT
               (Docs. 544, 557, 559, 563, 565, 567, 569,
                        570, 574, 575, and 578.)

     Mr. Capoccia, whose conviction has been affirmed and who now

faces re-sentencing, has pending eleven Federal Rule of Criminal

Procedure 12(b)(3) motions to dismiss various counts of the

Second Superseding Indictment (“SSI”).          Of these pro se motions,

seven challenge counts charging interstate transportation of

stolen property (“ITSP”) in violation of 18 U.S.C. §§ 2314 & 2,

namely Counts One, Three1, and Thirteen of the SSI; and an eighth

motion challenges Count Nineteen, which seeks forfeiture based on

violations alleged in Count One. (See Docs. 544, 557, 563, 567,

570, 574, 575, and 578.)        The remaining three motions challenge

Counts Two, Five, Seven, Twenty One and Twenty Two of the

indictment, charging conspiracy, wire fraud, and forfeiture based

on ITSP and receipt of stolen property violations.              (Docs. 559,


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       The motion challenging Count Three also challenges Count
Four, which charges receipt of stolen property in violation of 18
U.S.C. §§ 2315 & 3.
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565, 569.)     For the reasons that follow, these motions are

denied.

     The “mandate rule” under the law-of-the-case doctrine

“requires a trial court to follow an appellate court’s previous

ruling on an issue in the same case.”           United States v.

Quintieri, 306 F.3d 1217, 1225 (2d Cir. 2002).                The Second

Circuit has already rejected, in a decision issued November 30,

2009, Mr. Capoccia’s arguments that the SSI’s ITSP counts fail to

allege interstate transfers because the transfers were in fact

intrastate, on grounds that these counts were not facially

insufficient.      United States v. Capoccia, 354 F. App’x 522, 524

(2d Cir. 2009) (remanding for de novo re-sentencing because the

panel held two counts of conviction should be dismissed, but

rejecting Capoccia’s other challenges to the indictment).                    That

panel also rejected as “without merit” Mr. Capoccia’s argument

that language throughout the indictment, describing a “scheme” to

convert unearned retainer fees to his personal benefit, rendered

the ITSP counts facially defective.          Id.    Here, the eight pending

motions challenging ITSP and ITSP forfeiture counts assert

arguments already rejected by the Second Circuit, and therefore

the motions challenging those counts on the same grounds are

denied.     Re-litigation of these issues is foreclosed by the law-

of-the-case doctrine.         Quintieri, 306 F.3d at 1225.


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     Mr. Capoccia’s three remaining motions, and any challenges

raised in the eight motions above to ITSP and non-ITSP counts

which the Second Circuit has not yet considered, are disposed of

as follows:

     Mr. Capoccia challenges the facial sufficiency of Count Two,

which charges a conspiracy under 18 U.S.C. § 371, on two grounds.

(Doc. 565.)   First, he claims Count Two fails to allege

defendants “defrauded the United States or an agency;” second, he

claims the count fails to allege an agreement.             Id.    Both

arguments fail.

     Count Two does not purport to charge Mr. Capoccia under the

second prong of the statute, for conspiracy to defraud the United

States, but rather charges him under the first prong, for

“offenses against the United States” by conspiring to commit mail

and wire fraud, and interstate transportation and receipt of

stolen money.   (See SSI, Doc. 121 at 21.)        It therefore

sufficiently alleges the “object” element of a conspiracy.                Count

Two also explicitly alleges Mr. Capoccia “conspired and agreed”

to commit four offenses against the United States.               Id.   This

recitation is sufficient to allege the “agreement” element of

conspiracy.   See United States v. LaSpina, 299 F.3d 165, 177 (2d

Cir. 2002) (“[A]n indictment need do little more than to track

the language of the statute charged” and is sufficient if it

“contains the elements of the offense charged.”).             Mr. Capoccia’s


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motion to dismiss the conspiracy count, Doc. 565, is therefore

denied.

     Mr. Capoccia challenges Count Four, which charges receipt of

stolen funds in violation of 18 U.S.C. §§ 2315 & 2, because it

refers to a “scheme,” where the statute does not criminalize

schemes, and for lack of venue in Vermont.             (See Doc. 563 (which

also challenges Count Three).)         First, the Second Circuit’s

November 30, 2009 decision, which reasoned that references to a

“scheme” in the ITSP counts do not render the indictment facially

invalid, disposes of this challenge to Count Four as well.

Second, the venue challenge has no merit because Count Four

specifically charges the criminal activity occurred “in the

District of Vermont and elsewhere.”          (See SSI, Doc. 121 at 26.)

     Capoccia’s Motion to Dismiss Count One argues the interstate

transportation of stolen money charge should also be dismissed

“for improper venue in the state and district of Vermont.”                  (Doc.

557-2 at 1, Capoccia’s Affirmation.) Count One, like Count Four,

recites that the criminal activity occurred “in the District of

Vermont and elsewhere” and therefore this ground for dismissing

Count One fails.

     Mr. Capoccia moves to dismiss Counts Five and Seven, two

wire fraud counts.       (Doc. 559.)    He argues the alleged interstate

facsimiles regarding transfers between bank accounts do not

provide the jurisdictional hook for wire fraud and that venue for


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these counts was inappropriate in Vermont.           However, the SSI’s

allegations that the faxes “authorizing and enabling” the

overdrafts moved across state lines is facially sufficient to

provide the jurisdictional nexus.         Furthermore, the indictment

recites that the criminal conduct in both counts occurred “in the

District of Vermont and elsewhere,” and particularizes the

interstate faxes providing venue.         Therefore the motion to

dismiss Counts Five and Seven, Doc. 559, is denied.

     Mr. Capoccia challenges forfeiture Counts Twenty One and

Twenty Two, which seek the proceeds of violations described in

Counts Three and Four on grounds the forfeiture counts refer to

Count Three and Four violations as a “conspiracy.”             (Doc. 569.)

The Second Circuit’s November 30, 2009 decision held that while

“[v]arious portions of the indictment purport to describe

defendant’s ‘scheme,’” the SSI does not charge a scheme for

counts other than the conspiracy count, and in any case, this

language does “not render the indictment facially defective.”

Capoccia, 354 F. App’x at 524.      The panel noted references to a

“scheme” merely reflected the government’s theory that Mr.

Capoccia’s various offenses “were part of a pattern of

misconduct.”   Id.   The forfeiture counts’ mere reference to this

same pattern of misconduct as a “conspiracy” similarly fails to

render the indictment facially defective.




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     To the extent any of Capoccia’s motions challenge the SSI on

grounds other than its facial insufficiency or the Court’s lack

of jurisdiction, those arguments are untimely and have been

waived.     See Fed. R. Crim. P. 12(b)(3).

     Therefore, Defendant’s Motions to Dismiss, which challenge

Counts One through Five, Seven, Thirteen, and forfeiture Counts

Nineteen, Twenty One and Twenty Two of the Second Superseding

Indictment, namely, Documents 544, 557, 559, 563, 565, 567, 569,

570, 574, 575, and 578, are DENIED.

     SO ORDERED.

     Dated at Brattleboro, in the District of Vermont, this 18th

day of April, 2011.



                                     /s/ J. Garvan Murtha
                                     Hon. J. Garvan Murtha
                                     Senior United States District Judge




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